       Case 1:81-cv-01165-BLW Document 1255 Filed 02/27/19 Page 1 of 3



LAWRENCE G. WASDEN
ATTORNEY GENERAL OF IDAHO

MARK A. KUBINSKI, ISB # 5275
Lead Counsel, Corrections Section
Deputy Attorney General
Idaho Department of Correction
1299 N. Orchard St., Suite 110
Boise, Idaho 83706
Telephone: (208) 658-2097
Facsimile: (208) 327-7485
Email: mkubinsk@idoc.idaho.gov

COLLEEN D. ZAHN, ISB # 6208
BRIAN V. CHURCH, ISB #9391
Deputy Attorneys General
Civil Litigation Division
954 W. Jefferson – 2nd Floor
PO Box 83720
Boise, Idaho 83720-0010
Telephone: (208) 334-4137
Facsimile: (208) 854-8073
Email: colleen.zahn@ag.idaho.gov
       brian.church@ag.idaho.gov
Attorneys for Defendants

                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


 WALTER D. BALLA, et al.,                           Case No. CV 81-1165-S-BLW

                       Plaintiffs,                  DEFENDANTS’ MOTION TO FILE
                                                    OVERLENGTH BRIEF
 v.

 IDAHO STATE BOARD OF
 CORRECTION, et al.,

                       Defendants.

       Defendants Idaho State Board of Correction, et al., by and their counsel of record, move

the Court for permission to file an overlength memorandum, not to exceed 50 pages, in support

DEFENDANTS’MOTION TO FILE OVERLENGTH BRIEF-1
        Case 1:81-cv-01165-BLW Document 1255 Filed 02/27/19 Page 2 of 3




of Defendants’ forthcoming Motion to Terminate Prospective Relief. Defendants respectfully

request to file a memorandum in excess of the 20-page limit set forth in Dist. Idaho Loc. Civ. R.

7.1(a)(2).   In order to fully and properly address the 38-year history of this case and the

prospective relief to be terminated, Defendants require additional pages beyond the limit set forth

in the local rule. Therefore, Defendants respectfully request that the Court grant this motion and

permit them to file a supporting memorandum that does not exceed 50 pages.

       DATED this 27th day of February, 2018.

                                                     OFFICE OF THE ATTORNEY GENERAL
                                                     STATE OF IDAHO


                                                     BY     /S/ Colleen D. Zahn
                                                          COLLEEN D. ZAHN
                                                          DEPUTY ATTORNEYS GENERAL




DEFENDANTS’MOTION TO FILE OVERLENGTH BRIEF-2
       Case 1:81-cv-01165-BLW Document 1255 Filed 02/27/19 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 27, 2019, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following persons

W. Christopher Pooser
christopher.pooser@stoel.com

Elijah M. Watkins
elijah.watkins@stoel.com

Wendy J. Olson
Wendy.olsen@stoel.com


                                           /s/ Colleen D. Zahn
                                           Colleen D. Zahn




DEFENDANTS’MOTION TO FILE OVERLENGTH BRIEF-3
